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                          9th
    December      2013



/S/ Joe B Brown



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Case 2:13-cr-00001       Document 50   Filed 12/09/13   Page 1 of 6 PageID #: 110
Case 2:13-cr-00001   Document 50   Filed 12/09/13   Page 2 of 6 PageID #: 111
Case 2:13-cr-00001   Document 50   Filed 12/09/13   Page 3 of 6 PageID #: 112
Case 2:13-cr-00001   Document 50   Filed 12/09/13   Page 4 of 6 PageID #: 113
Case 2:13-cr-00001   Document 50   Filed 12/09/13   Page 5 of 6 PageID #: 114
Case 2:13-cr-00001   Document 50   Filed 12/09/13   Page 6 of 6 PageID #: 115
